                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI


TED ENTERTAINMENT, INC.,                        )
a California corporation,                       )
                                                )
                         Plaintiff,             )
                                                )
   v.                                           )   Case No.: 4:25-cv-459
                                                )
KACEY CAVINESS p/k/a KACEYTRON,                 )
an individual,                                  )
                                                )
and                                             )
                                                )
DOES 1-10,                                      )
                                                )
                       Defendants.              )


                       NOTICE OF LODGING OF FLASH DRIVE
                    CONTAINING VIDEO EXHIBITS TO COMPLAINT


TO THE COURT AND ALL PARTIES OF RECORD:

        PLEASE TAKE NOTICE that plaintiff Ted Entertainment, Inc. (“TEI”) hereby lodges

with the Court the following materials in conjunction with its Complaint against defendants

Kacey Caviness p/k/a Kaceytron (“Kaceytron”) and Does 1-10.

        1. A flash drive containing the following exhibits to the Complaint:

               a. Exhibit D: The deposit copy of TEI’s copyrighted work entitled Content

                   Nuke: Hasan Piker;

               b. Exhibit E: The broadcast copy of TEI’s copyrighted work entitled Content

                   Nuke: Hasan Piker

               c. Exhibit H: Kaceytron’s January 31, 2025 broadcast.




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       PLEASE TAKE FURTHER NOTICE that the flash drive identical to that described is

being served on Kaceytron.

                                       Respectfully submitted,

                                        By: /s/ James J. Kernell
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                                        Attorneys for Plaintiff
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